                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                           5:14-CR-00047-KDB-DCK-1
 USA                                        )
                                            )
    v.                                      )               ORDER
                                            )
 LARRY JASON CHAMBERS                       )
                                            )

         THIS MATTER is before the Court upon motion of the defendant pro se for

compassionate release and a request for appointment of counsel under 18 U.S.C. §

3582(c)(1)(A) and the First Step Act of 2018. (Doc. No. 180).

         Section 603(b) of the First Step Act amended § 3582(c)(1)(A), which

previously only allowed a court to reduce a term of imprisonment on motion of the

Director of Prisons (BOP). Now a court may entertain a motion filed by a

defendant: (1) after full exhaustion of all administrative rights to appeal a failure of

the BOP to bring a motion on his behalf; or (2) after lapse of 30 days from the

receipt of such a request by the warden of his facility, whichever is less.

         Here, defendant cannot obtain relief from this Court when he has not first

sought it through the warden at his facility. He checks a box on his motion that he

has not submitted a request for compassionate release and then provides a non-

coherent reason as to why not. He states that he has filed an administrative

remedy with the Regional Office but does not include any documentation, showing

that he has requested any such relief from the BOP. Likewise, the defendant

claims to have PTSD and other mental issues but fails to provide BOP medical




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records to substantiate his claims. Therefore, this Court will not consider the

merits of his claim.

      The defendant asks the Court to appoint him counsel to assist him with his

request for a compassionate release. However, “a criminal defendant has no right

to counsel beyond his first appeal.” United States v. Legree, 205 F.3d 724, 730 (4th

Cir. 2000) (quoting Coleman v. Thompson, 501 U.S. 722, 756 (1991). “Though in

some exceptional cases due process does mandate the appointment of counsel for

certain postconviction proceedings,” the defendant has not presented a showing of

such exceptional circumstances in this case. Legree, 205 F.3d at 730 (internal

citation omitted. The Court finds that the interests of justice do not require

appointment of counsel to assist the defendant at this time.

      IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion for

compassionate release and appointment of counsel (Doc. No. 180), is DENIED

without prejudice to a renewed motion properly supported by evidence and after

exhaustion of his administrative remedies.

      SO ORDERED.

                            Signed: January 29, 2021




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